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                              UNITED STATES BANKRUPTCY COURT
9
                               CENTRAL DISTRICT OF CALIFORNIA
10
                                     SANTA ANA DIVISION
11
12   In re:                                           CHAPTER 7

13   Alicia Marie Richards,                           Case No.: 8:21-bk-10635-SC
                                                      Adv No: 8:22-ap-01067-SC
14
                                                      ORDER
15
                                     Debtor(s).
16   Ryal W. Richards,
17
                                     Plaintiff(s),
18        v.
19
     Alicia Marie Richards,
20
21                                Defendant(s).
22
23
              It is hereby ORDERED that this Order, after entry on this adversary
24
     proceeding docket, be immediately transmitted by the Clerk of the Bankruptcy
25
     Court for the Central District of California to the Bankruptcy Appellate Panel for
26
     the Ninth Circuit to accompany all other pleadings in the case regarding the
27
     Notice of Appeal and Request for Emergency Stay Pending Appeal.
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1           On September 2, 2022, a Notice of Appeal and Statement of Election was filed
2    with the Bankruptcy Court in this adversary proceeding as Docket No. 25.
3           The Notice includes a Request an Emergency Hearing for Stay Pending Appeal
4    directed to the Bankruptcy Appellate Panel for the Ninth Circuit. The Notice does not
5    request that this Court rule on the Stay Pending Appeal and presents no reason why
6    such a request would have been impracticable or impossible.
7           Federal Rule of Bankruptcy Procedure 8007 contains presentation requirements
8    for Motions for Stay Pending Appeals. "Ordinarily, a party must move first in the
9    bankruptcy court for the following relief . . . a stay of a judgment, order, or decree of the
10   bankruptcy court pending appeal." Fed. R. Bankr. P. 8007(a)(1)(A). If the request is
11   instead made directly to the court where the appeal is pending, the moving party must
12   show "that moving first in the bankruptcy court would be impracticable," or "if a motion
13   was made in the bankruptcy court" must "state the court has not yet ruled on the
14   motion, or state that the court has ruled and set out any reasons given for the ruling."
15   Fed. R. Bankr. P. 8007(b)(2). In re Rivera, 2015 U.S. Dist. LEXIS 151860, *4-5 (NDCA
16   2015) (J. Davila.)
17          The Bankruptcy Court is perfectly willing to permit the Bankruptcy Appellate
18   Panel of the Ninth Circuit (“BAP”) to rule on the request for a stay pending appeal,
19   notwithstanding no request by this Court to do so. However, to guide the BAP on the
20   views of this Court in the event it would want to follow the Federal Rules of Bankruptcy
21   Procedure in this instance, it is hereby ordered that this Order be docketed and
22   immediately transmitted to the BAP.
23          This case, a chapter 7 case almost entirely involves a family law matter now
24   pending in the Orange County Superior Court for the State of California. As previously
25   found by this Court, in an effort to forum shop, the Debtor removed a matter directly
26   from the family law court to this Bankruptcy Court. This Court, having reviewed the
27   entirety of the bankruptcy court docket (with over 820 docketed items since March,
28   2021), and all adversary proceedings, including all transcripts since the announcement




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1    of the transfer of the case from the retiring of the Honorable Erithe Smith to this Court
2    on August 16, 2022, carefully considered the Motion to Remand. On the date this
3    Court accepted the assignments, September 1, 2022, the Court entered its order
4    remanding the case back to the Family Law Court in Orange County. That order was
5    entered after careful consideration of the case, since its notice of assignment to this
6    Court was made on August 16, 2022 and proceedings were otherwise scheduled in the
7    family law court.
8           Had this Court been requested to decide whether a stay pending appeal on the
9    Remand Order should issue, it would have considered the following:
10          The standard for a stay pending appeal is similar to the standard for a preliminary
11   injunction, as the two orders raise similar concerns. See Nken v. Holder, 556 U.S. 418,
12   434, 129 S. Ct. 1749, 173 L. Ed. 2d 550 (2009).
13          Accordingly, a party seeking a stay pending appeal "must establish [1] that he is
14   likely to succeed on the merits, [2] that he is likely to suffer irreparable harm in the
15   absence of relief, [3] that the balance of equities tips in his favor, and [4] that a stay is in
16   the public interest." Humane Soc'y of U.S. v. Gutierrez, 558 F.3d 896, 896 (9th Cir.
17   2009) (citing Winter Nat. Res. Def. Council, 555 U.S. 6, 19 (2008)); United States SEC
18   v. Wilde, No SACV 11-315-DOC (AJWx), 2013 U.S. Dist. LEXIS 76147, 2013 WL
19   2303761, at *5 (C.D. Cal. May 20, 2013). The party requesting a stay bears the burden
20   of showing that the circumstances justify a stay. Nken, 556 U.S. at 433-34. See Holmes
21   v. Harris, 2021 U.S. Dist. LEXIS 106820, *14-15, (CDCA 2021) (Chief Judge Gutierrez).
22          As the Court carefully familiarized itself with the pleadings, and all of them in this
23   case, reviewed the Motion to Remand back to family law court, and the Opposition, it
24   determined that the removal was an effort to forestall a family law determination and
25   remove the decision to another forum. The Court also determined after careful review
26   that there were no important federal bankruptcy questions involved in the family law
27   court matter and that the family law court was best suited to resolve the issues before it,
28   and it had the jurisdiction to do so. Thus, this Court would have found that the Movant




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1    has no likely chance of success on the appeal. Also, this Court would have discussed
2    ad considered the standard of review of an appellate court on issues of remand and
3    would have noted that lower courts have broad discretion with respect to remand
4    proceedings to state family law courts.
5           The Court would have found no irreparable harm to any party but for a stay of
6    appeal. No such showing is set forth in the Request for a Stay.
7           This Court would have also analyzed the equities of this proceeding and parties
8    and would have found that the balance, by clear and convincing measures, would weigh
9    on the side of parties seeking remand of this matter to the family law court in Orange
10   County, California.
11          Finally, this Court would have found that the public interest in having family law
12   matters determined in family law courts (and probate matters heard in state probate
13   courts) is paramount in these types of cases. See i.e. Stern v. Marshall, 564 U.S. 462,
14   462 (2011).
15          This Court would have again reviewed its order now under appeal and found that
16   it had previously held that:
17          The Court may remand this matter pursuant to 28 U.S.C. §1452(b), FRBP 9027
            and Roberts v. Bisno, 433 B.R. 753, 758 (CD Cal. 2010). Courts have “an
18          unusually broad grant of authority" to order an equitable remand. McCarthy v.
19          Prince, 230 B.R. 414, 417 (B.A.P. 9th Cir. 1999). In evaluating whether equitable
            remand is appropriate, courts generally rely on the following fourteen factors: (1)
20          the effect on the efficient administration of the estate; (2) the extent to which
            state-law issues predominate; (3)the lack of novelty or difficulty of applicable law;
21          (4) the presence of related state-court proceedings; (5) the lack of jurisdictional
22          bases for removal other than § 1334(b); (5) the remoteness to the main
            bankruptcy case; (7) the absence of any core proceeding; (8)the inapplicability of
23          severing claims; (9) the burden on the federal docket; (10) the likelihood of forum
            shopping; (11) the right to a jury trial; (12) the presence of non-debtor parties;
24
            (13) comity; and (14) the possible prejudice to the plaintiff. Id. See also, Deen v.
25          Deen (In re Deen), No. SC-21-1035-BSF, 2022 Bankr. LEXIS 1601, at *1 (B.A.P.
            9th Cir. June 7, 2022).
26
            In the instant action, remand is warranted based upon the law and facts as
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            articulated clearly in the pleadings before this Court.
28
            First, this action will have little to no material effect on the bankruptcy proceeding.




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1          Second, California state law predominates. Third, there are no difficult or
           unsettled issues of federal law. See, Citigroup v. Pac. Inv. Mgmt. Co (In re
2          Enron), 296 B.R. 505, 509 (C.D. Cal. 2003) (favoring remand because “California
3          courts have more expertise in interpreting California law”). Fourth, this action
           does not present any bankruptcy issues. Fifth, jurisdiction is based on §1334(b).
4          Sixth, there are no severability of issues factors to consider here. Seventh, there
           seems to be forum shopping by Debtor in this case. Eighth, comity favors
5          equitable remand since the only claims asserted are state-law claims. In re
6          Enron, 296 B.R. at 509. (“Comity dictates that California courts should have the
           rights to adjudicate the exclusively state law claims involving California-centric
7          plaintiffs and California-centric transaction”).
8
           For all of these reasons, this Court would have denied the Stay Pending Appeal,
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     had the proper procedures been utilized by the Moving party. However, this Court
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     graciously indicates that it has no problem with the BAP undertaking a hearing on a
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     Motion for Stay Pending Appeal.
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           IT IS SO ORDERED.
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20    Dated: September 2, 2022
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